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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     December 08, 2021
                           UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


LETRICIA L. RIVAS,                             §
                                               §
          Plaintiff,                           §
                                               §
VS.                                            §   CIVIL ACTION NO. 7:21-CV-375
                                               §
DOLLAR FINANCE COMPANY,                        §
                                               §
          Defendant.                           §


                             RULE 16 SCHEDULING ORDER

       The disposition of this case will be controlled by the following schedule: All
communications concerning this case shall be directed in writing to Ms. Delia S. Rodriguez,
Case Manager for Judge Randy Crane, 1701 W. Business Highway 83, Suite 1011, McAllen, TX
78501.

1.       ___06/10/22 ___    NEW PARTIES
                            Additional parties shall be joined, with leave of Court, by this date.
                            The attorney causing the addition of new parties will provide such
                            parties with a copy of this Scheduling Order.

2.       ___06/10/22 __     AMENDMENTS TO PLEADINGS
                            Pleading amendments, with leave of Court if required by the
                            Federal Rules of Civil Procedure, shall be made by this date.

3.(a)    ___07/01/22___     EXPERTS
                            Parties with the burden of proof on an issue shall designate expert
                            witnesses in writing and provide the report required by Rule
                            26(a)(2) of the Federal Rules of Civil Procedure by this date.

3.(b)    ___07/15/22___     DEFENSIVE EXPERTS
                            The opposing party shall designate expert witnesses in writing and
                            provide the report required by Rule 26(a)(2) of the Federal Rules
                            of Civil Procedure by this date.

4.       ___ N/A _____      MEDIATION/ADR
                            Through correspondence to Delia S. Rodriguez, Case Manager,
                            with copies to all counsel, each party is to advise the court by this
                            date whether and by when they believe non-binding mediation
                            would be helpful to the resolution of this case.


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5.     ___08/05/22__      DISCOVERY
                          All discovery of whatever form shall be completed by this date,
                          unless the parties have agreed in writing to extend this deadline.
                          Written discovery requests are not timely if responses thereto
                          would not be due until after this deadline.

6.     ___08/19/22___     PRETRIAL MOTIONS DEADLINE
                          No motion other than motions in limine shall be filed after this date
                          without leave of Court for good cause shown. Motions in limine
                          may be filed along with the Joint Pretrial Order.

7.     ___09/16/22___     MOTIONS HEARING
                          A hearing to address any pending motions, including dispositive
                          motions, will be held this date at 9:30 a.m. in the 9th Floor
                          Courtroom, United States District Court, 1701 W. Business
                          Highway 83, McAllen, Texas. If there are no pending motions or
                          other matters that should be addressed prior to this hearing, the
                          parties may request by an agreed motion that this setting be
                          canceled.

8.     ___09/26/22 __     JOINT PRETRIAL ORDER
                          A Joint Pretrial Order in the form prescribed by Appendix B of the
                          Local Rules for the Southern District of Texas shall be filed by this
                          date. Plaintiff is responsible for timely filing the complete Joint
                          Pretrial Order. Failure to file a Joint Pretrial Order timely may
                          lead to dismissal or other sanction in accordance with applicable
                          rules.

9.     ___10/03/22__      FINAL PRETRIAL CONFERENCE
                          A Final Pretrial Conference will be held at 9:30 a.m. in the 9th
                          Floor Courtroom, United States District Court, 1701 W. Business
                          Highway 83, McAllen, Texas.

10.    ___10/04/22_ _     JURY SELECTION & TRIAL SETTING
                          Jury selection in jury cases is set for this date at 9:00 a.m. in the 9th
                          Floor Courtroom, United States District Court, 1701 W. Business
                          Highway 83, McAllen, Texas. In both jury and non-jury cases, a
                          trial date will be assigned at this hearing.


        SO ORDERED December 8, 2021, at McAllen, Texas.


                                                    ______________________________
                                                    Randy Crane
                                                    United States District Judge



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